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Fll.Eo BY`_ D_c_

IN THE UNITED STATES DISTRICT COURT 05 AUG 30 FH h= 10
FoR THE wESTERN DISTRICT oF TENNESSEE

 

wESTERN DIVISION W'IBU'*D”“SWHGYLO%W
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UNITED STATES OF AMERICA,
Plaintiff, Case No.: 04-20419 D

v.
MILTON COLLINS,

Defendant.

 

ORDER WITHDRAWING MOTION TO WAIVE
PERSONAL APPEARANCE AT REPORT DATE

 

Defendant filed a motion to waive personal appearance at the August 25, 2005 report date.

Subsequently, Defendant appeared at the report date and requested to have the instant motion

withdrawn

Accordingly, the motion to waive personal appearance at the report date is withdrawn

IT ls so oRDERED this ¢SGWday of Q;,¢ gale ,2005.

BE CE BO DONALD
UNITED STATES DISTRlCT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:04-CR-204]9 was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

